                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                   3:16-cv-571-RJC
                                (3:11-cr-337-RJC-11)

MARVIN RAY WILBURN,                                    )
                                                       )
                        Petitioner,                    )
                                                       )
vs.                                                    )              ORDER
                                                       )
UNITED STATES OF AMERICA,                              )
                                                       )
                  Respondent.                          )
_______________________________________                )

         THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside or Correct

Sentence under 28 U.S.C. § 2255, (Doc. No. 1).

         I.     BACKGROUND

         Pro se Petitioner Marvin Ray Wilburn worked as a broker for automobiles and as a real

estate agent. (Crim. Case No. 3:11cr337-RJC-11, Doc. No. 413 at ¶ 62: PSR). From 2004 to

2013, he engaged in a conspiracy to launder the proceeds from marijuana trafficking. (Id. at ¶ 5).

Petitioner used his bank accounts to launder drug proceeds, and he also accepted cash payments

from marijuana traffickers as payment for leases of luxury vehicles, despite knowing that the

funds were derived from drug-trafficking. (Id. at ¶ 6). He was known to possess firearms,

including a revolver and a pistol. (Id. at ¶ 8).

         In 2013, Petitioner was indicted for conspiracy to possess with intent to distribute 1,000

kilograms or more of marijuana, in violation of 21 U.S.C. §§ 841(b)(1)(A), 846 (Count One);

conspiracy to commit money laundering by conducting or attempting to conduct “a financial

transaction affecting interstate and foreign commerce, which involved the proceeds of a specified

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unlawful activity, that is, the manufacture, importation, sale, or distribution of a controlled

substance, with the intent to promote the carrying on” of this activity and while knowing that the

property involved the proceeds of unlawful activity, in violation of 18 U.S.C. § 1956(h) (Count

Two); and possession of a firearm during and in relation to a drug-trafficking crime, in violation

of 18 U.S.C. § 924(c) (Count Three). (Id., Doc. No. 288: Third Superseding Indictment). The

indictment also contained a notice of forfeiture. (Id. at 4).

        Petitioner agreed to plead guilty to the money laundering charge in Count Two, admitting

that he conspired to launder proceeds from marijuana trafficking, in exchange for the dismissal

of the remaining charges. (Id., Doc. No. 325 at ¶¶ 1-2: Plea Agrmt.). As part of the plea

agreement, the parties recommended that the Court find that the amount of drug proceeds that

was known or reasonably foreseeable to Petitioner was the marijuana equivalent of between 100

and 400 kilograms; that Petitioner’s plea was timely entered for purposes of acceptance of

responsibility; and that the Government would not oppose a sentence at the bottom of the

guidelines range. (Id. at ¶ 7). Petitioner also agreed to forfeit all of the assets listed in the First

Superseding Bill of Indictment or seized in a related investigation. (Id. at ¶ 9). Finally,

Petitioner waived the right to challenge his conviction or sentence on appeal, or in any post-

conviction proceeding, except as to claims of ineffective assistance of counsel or prosecutorial

misconduct. (Id. at ¶¶ 18-19).

        At the plea hearing, the magistrate judge reviewed the money laundering charge with

Petitioner, who testified that he understood the charge and that he was guilty of it. (Id., Doc. No.

485 at 4-6, 9: Plea Tr.). The Government stated that Petitioner agreed that there was a factual

basis for his plea, but that the factual basis would be deferred until sentencing. (Id. at 11). The

Government also noted that the plea agreement included a forfeiture provision and that there



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were no other agreements or understandings between the parties, other than those embodied in

the plea agreement. (Id. at 11-13). Petitioner testified that he had reviewed the plea agreement

with his attorney, that he understood the terms of the agreement, and that he agreed to those

terms. (Id. at 13). He stated that no one had threatened, intimidated, or forced him to plead

guilty; that he had had a sufficient opportunity to discuss possible defenses with his attorney; and

that he was satisfied with his attorney’s services. (Id. at 14). The magistrate judge confirmed

that Petitioner understood that he was waiving the right to challenge his conviction or sentence

on appeal or in any post-conviction proceeding. (Id. at 13-14). The magistrate judge found that

Petitioner’s plea was made knowingly and voluntarily. (Id. at 17-18).

       In preparation for sentencing, a probation officer prepared a presentence report,

recommending a finding that Petitioner’s base offense level was 28. (Id., Doc. No. 413 at ¶ 14).

This calculation was based on the amount of marijuana involved in the drug offense underlying

the money laundering count, as well as a two-level enhancement under U.S.S.G. § 2D1.1(b)(1)

for possession of a dangerous weapon. (Id.). Applying a two-level increase under U.S.S.G. §

2S1.1(b)(2)(B) (for convictions under Section 1956), and a three-level reduction for acceptance

of responsibility, Petitioner’s total offense level was 27. (Id. at ¶¶ 15; 21-23). Petitioner had 14

criminal history points, including one point for a misdemeanor battery conviction, which placed

him in criminal history category VI. (Id. at ¶¶ 31; 36). His advisory guidelines range was 130-

162 months of imprisonment. (Id. at ¶ 68).

       A factual basis was filed before sentencing. (Id., Doc. No. 378). Petitioner’s counsel

signed the factual basis, confirming that he had read and discussed it, the indictment, and the

plea agreement, with Petitioner and was satisfied that Petitioner understood these documents.

(Id. at 2). At sentencing, Petitioner stated that he had read the PSR, reviewed it with his



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attorney, and understood it. (Id., Doc. No. 486 at 3: Sent. Tr.). This Court overruled defense

counsel’s motion for a downward variance, citing Petitioner’s very serious criminal history and

his long-term involvement in the present offense, and sentenced Petitioner to 130 months of

imprisonment. (Id. at 14-15).

       The Fourth Circuit affirmed Petitioner’s conviction and sentence on appeal, rejecting

counsel’s assertion that the district court had not adequately considered the injuries Petitioner

sustained in a prior robbery offense, as well as Petitioner’s pro se arguments that the factual basis

was insufficient to support his conviction and was invalid because he did not sign it. United

States v. Wilburn, 596 F. App’x 241, 242 (4th Cir. 2015), cert. denied, 136 S. Ct. 263 (2015).

Petitioner timely filed the present motion to vacate on July 26, 2016, raising numerous claims of

ineffective assistance of counsel, as well as a challenge to the calculation of his criminal history.

The Government filed its Response on September 29, 2016, and, after receiving two extensions

of time, Petitioner filed his Reply on November 30, 2016. (Doc. Nos. 4; 9).

       II.     STANDARD OF REVIEW

       Rule 4(b) of the Rules Governing Section 2255 Proceedings provides that courts are to

promptly examine motions to vacate, along with “any attached exhibits and the record of prior

proceedings . . .” in order to determine whether the petitioner is entitled to any relief on the

claims set forth therein. After examining the record in this matter, the Court finds that the

argument presented by Petitioner can be resolved without an evidentiary hearing based on the

record and governing case law. See Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

       III.    DISCUSSION

       A. Petitioner’s Claims of Ineffective Assistance of Trial Counsel.




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       The Sixth Amendment to the U.S. Constitution guarantees that in all criminal

prosecutions, the accused has the right to the assistance of counsel for his defense. See U.S.

CONST. amend. VI. To show ineffective assistance of counsel, Petitioner must first establish a

deficient performance by counsel and, second, that the deficient performance prejudiced him.

See Strickland v. Washington, 466 U.S. 668, 687-88 (1984). In making this determination, there

is “a strong presumption that counsel’s conduct falls within the wide range of reasonable

professional assistance.” Id. at 689; see also United States v. Luck, 611 F.3d 183, 186 (4th Cir.

2010). Furthermore, in considering the prejudice prong of the analysis, the Court “can only grant

relief under . . . Strickland if the ‘result of the proceeding was fundamentally unfair or

unreliable.’” Sexton v. French, 163 F.3d 874, 882 (4th Cir. 1998) (quoting Lockhart v. Fretwell,

506 U.S. 364, 369 (1993)). Under these circumstances, the petitioner “bears the burden of

affirmatively proving prejudice.” Bowie v. Branker, 512 F.3d 112, 120 (4th Cir. 2008). If the

petitioner fails to meet this burden, a “reviewing court need not even consider the performance

prong.” United States v. Rhynes, 196 F.3d 207, 232 (4th Cir. 1999), opinion vacated on other

grounds, 218 F.3d 310 (4th Cir. 2000).

   To establish prejudice in the context of a guilty plea, a petitioner must show that “there is a

reasonable probability that, but for counsel’s errors, he would not have pleaded guilty and would

have insisted on going to trial.” Meyer v. Branker, 506 F.3d 358, 369 (4th Cir. 2007) (quoting

Hill v. Lockhart, 474 U.S. 52, 59 (1985)). In evaluating such a claim, statements made by a

defendant under oath at the plea hearing carry a “strong presumption of verity” and present a

“formidable barrier” to subsequent collateral attacks. Blackledge v. Allison, 431 U.S. 63, 73-74

(1977). Indeed, “in the absence of extraordinary circumstances, the truth of sworn statements

made during a Rule 11 colloquy is conclusively established, and a district court should dismiss . .



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. any § 2255 motion that necessarily relies on allegations that contradict the sworn statements.”

United States v. Lemaster, 403 F.3d 216, 221-22 (4th Cir. 2005).

       Petitioner raises the following grounds of ineffective assistance of counsel: (1) failure to

challenge the sufficiency of the indictment; (2) negotiating a plea agreement containing a

forfeiture clause; (3) counseling Petitioner to accept a plea that allowed the Government to defer

the factual basis until sentencing; and (4) failing to challenge the sentence enhancement for

possessing a firearm. Petitioner also asserts, in his supporting affidavit, various additional

instances of alleged ineffective assistance of counsel occurring before he entered his guilty plea.

See (Doc. No. 1 at 14-25). In Petitioner’s affidavit in support of his motion, he argues that he

would not have pleaded guilty but for counsel’s advice to do so. (Id. at 14). Petitioner asserts

that he wanted to go to trial and that he told his attorney that Petitioner’s financial records would

show that he had not structured any financial transactions. (Id.). He contends that he would not

have pleaded guilty had he read the plea agreement and that he would not have agreed to forfeit

money, but that he did not “bother” to read the plea agreement because he trusted his attorney.

(Id.). He admits that his attorney pointed him to the important parts of the plea agreement, but

he contends that counsel did not investigate the case or explain the law, told Petitioner that he

could not win if he went to trial, and advised him to accept the plea. (Id.).

       Generally, “[w]hen a defendant pleads guilty, he waives all nonjurisdictional defects in

the proceedings conducted prior to entry of the plea.” United States v. Moussaoui, 591 F.3d 263,

279 (4th Cir. 2010). Thus, a knowing and voluntary guilty plea “forecloses federal collateral

review” of prior constitutional deprivations, including allegations of ineffective assistance of

counsel that do not affect the voluntariness of the plea. See Fields v. Att’y Gen. of Md., 956

F.2d 1290, 1294-96 (4th Cir. 1992). As the Government notes, Petitioner has arguably waived



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his first three claims of ineffective assistance by pleading guilty, since these three claims are

based on pre-plea conduct. However, although Petitioner does not specifically state that his plea

was involuntary, given the contention in his affidavit that he would not have pleaded guilty

absent counsel’s advice to do so, the Court will address the merits of his contentions.

          i. Petitioner’s contention that counsel was ineffective for failing to challenge the

sufficiency of the indictment.

          Petitioner first argues that counsel provided ineffective assistance by not challenging the

indictment. He contends that the indictment does not set forth the essential facts of the offense

and does not provide sufficient notice of what separate drug offense under 21 U.S.C. § 841(a)(1)

he is alleged to have committed because it lists the specified unlawful activity in the disjunctive

as “the manufacture, importation, sale, or distribution of a controlled substance.” (Doc. No. 1 at

15-18).

          An indictment must provide a defendant with sufficient notice of the charge against him

so he can defend against it and plead acquittal or conviction if any subsequent attempt is made to

prosecute him for the same offense. United States v. Smith, 44 F.3d 1259, 1263-64 (4th Cir.

1995). It is generally sufficient if an indictment follows the words in the statute. Id. at 1264.

The elements of money laundering are: (1) conducting a financial transaction affecting interstate

commerce; where (2) the financial transaction involves proceeds from a specified unlawful

activity; (3) the defendant knew the proceeds came from this activity; and (4) the defendant

intended to promote the unlawful activity by engaging in the transaction. United States v.

France, 164 F.3d 203, 208 (4th Cir. 1998). A money-laundering indictment need not list the

elements of the underlying specified unlawful activity; rather, it is sufficient if the indictment

alleges that “the money laundering transactions involved funds derived from a specified unlawful



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activity.” United States v. Cherry, 330 F.3d 658, 667-68 (4th Cir. 2003); Smith, 44 F.3d at 1265

(holding “details about the nature of the unlawful activity underlying the character of the

proceeds need not be alleged”).

       Here, Count Two of the indictment charged Petitioner with conspiracy to commit money

laundering by conducting or attempting to conduct “a financial transaction affecting interstate

and foreign commerce, which involved the proceeds of a specified unlawful activity, that is, the

manufacture, importation, sale, or distribution of a controlled substance, with the intent to

promote the carrying on” of this activity and while knowing that the property involved the

proceeds of unlawful activity. (Crim. Case No. 3:11cr337-RJC-11, Doc. No. 288 at 2). This was

sufficient to allege the elements of money laundering, as well as to identify the underlying

specified activity. See Cherry, 330 F.3d at 667-68; Smith, 44 F.3d at 1265. As the Government

notes, Petitioner seems to misapprehend the fact that he need not have engaged in the specified

unlawful activity—drug trafficking, so he did not have to defend against a drug-trafficking

charge, rather his offense involved laundering the proceeds from drug trafficking. Furthermore,

there is no merit to Petitioner’s contention in his Reply that the indictment charging him with

conspiracy to money launder was required to specify either that Petitioner was being charged

with “promotion money laundering” or “concealment money laundering”—that is, whether he

intended to promote money laundering or that he knew the financial transactions were designed

to conceal the nature of the proceeds. See (Doc. No. 9 at 1-2). In sum, because the indictment

provided sufficient notice of the elements of the crime and the specified unlawful activity,

Petitioner has not shown that counsel’s performance was deficient. See Strickland, 466 U.S. at

687-88.




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       Because the indictment was sufficient, Petitioner also cannot show prejudice. Petitioner

contends that he can show prejudice because he did not know what crime he was supposed to

defend against and he would not have agreed to plead guilty to conspiracy to launder money.

(Doc. No. 1 at 18). Petitioner’s contentions are belied by the representations he made under oath

during the plea hearing that he understood the charges and had discussed them and any potential

defenses with his attorney. (Id., Doc. No. 485 at 4-6, 9). Moreover, Petitioner also cannot show

prejudice because he has not shown that the Government could not have obtained a superseding

indictment to remedy any deficiencies had counsel challenged the indictment. Because counsel’s

performance was not deficient and Petitioner has not shown prejudice, this claim is denied. See

Strickland, 466 U.S. at 687-88, 694.

       ii. Petitioner’s contention that counsel was ineffective in negotiating a plea agreement

containing a forfeiture clause.

       Petitioner next contends that counsel was ineffective in negotiating a plea agreement

containing a forfeiture clause. A challenge to the forfeiture of assets is generally not cognizable

under Section 2255 because it does not challenge the validity of the defendant’s conviction or

sentence. See United States v. Finze, 428 F. App’x 672, 677 (9th Cir. 2011). However, because

Petitioner seeks a new trial based on counsel’s alleged ineffective assistance in negotiating a plea

agreement with a forfeiture clause, he arguably is challenging his confinement. See United

States v. Berry, 118 F. App’x 744, n.2 (4th Cir. 2005) (suggesting that a defendant may raise an

ineffective assistance claim based on counsel’s failure to object to a forfeiture order).

       Nonetheless, Petitioner has not shown deficient performance or prejudice. The forfeiture

clause is a standard provision in this district’s plea agreements. Petitioner has made no showing

that counsel could have negotiated a plea agreement without this standard provision. Thus,



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counsel’s actions did not fall below the prevailing professional norms. Additionally, Petitioner

cannot show prejudice because he has not shown that it would have been objectively reasonable

to proceed to trial, or, even if he had, that the result of the proceeding would have been different.

See Fugit, 703 F.3d at 260. His contention that he had acquired the money in his bank account

through legitimate means is conclusory and unsupported. (Doc. No. 1 at 18-20); see United

States v. Dyess, 730 F.3d 354, 359-60 (4th Cir. 2013) (holding it was proper to dismiss Section

2255 claims based on vague and conclusory allegations), cert. denied, 135 S. Ct. 47 (2014).

Accordingly, this claim is denied.

       iii. Petitioner’s contention that counsel was ineffective for deferring the factual basis until

sentencing.

       Petitioner next asserts that counsel was ineffective because he advised Petitioner to

accept a guilty plea while deferring the factual basis until sentencing. (Doc. No. 1 at 20-22).

Petitioner contends that he had not read the factual basis at the time of his plea and that he would

not sign the factual basis when he read it because he did not agree with it. (Id. at 21-22). He

argues that, other than the factual basis, there was no evidence to support his involvement in the

crimes charged. (Id. at 21).

       The factual basis does not need to be set out when a defendant pleads guilty; rather, a

sufficient factual basis must be established when judgment is entered at sentencing. See FED. R.

CRIM. P. 11(b)(3) (the court must determine that there is a factual basis for the plea before

entering judgment); United States v. Dixon, 105 F. App’x 450, 451 (4th Cir. 2004).

Accordingly, any attempt by counsel to challenge the factual basis at the plea hearing would be

premature, and counsel’s failure to make such a challenge does not constitute ineffective




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assistance. Dixon, 105 F. App’x at 452. Therefore, Petitioner has not shown deficient

performance by counsel for deferring the factual basis until sentencing.

       Nor has Petitioner made a showing of prejudice, as he would not have received the

benefits of his plea agreement without admitting to his guilty of the charged offense, and his

assertion that there was no evidence to support his involvement in the crimes charged is

conclusory.1 See Dyess, 730 F.3d at 359-60. Because he has not shown deficient performance

or prejudice, this claim is denied. See Strickland, 466 U.S. at 687-88, 694.

       iv. Petitioner’s contention that counsel provided ineffective assistance at sentencing.

       Petitioner next contends that his sentence was improperly enhanced for possession of a

firearm based on a firearm found in his car while he was at his mother’s home in California and

that this possession had nothing to do with his offense conduct. (Doc. No. 1 at 23-25). He

contends that the evidence was insufficient to support the enhancement because there was no

testimony at the sentencing hearing to support the statement in the PSR that a co-defendant saw

him with two firearms. (Id. at 24). He argues that he was prejudiced because he otherwise

would have been sentenced at a lower offense level.

       To establish prejudice at sentencing, a petitioner must show that, but for his counsel’s

deficient performance, there is a reasonable probability that his sentence would have been more

lenient. See Royal v. Taylor, 188 F.3d 239, 249 (4th Cir. 1999). Under Section 2D1.1(b)(1) of



1  Petitioner contends in his Reply that, rather than arguing about the factual basis being
presented at sentencing, he is “complaining about counsel being ineffective in the negotiation of
the plea agreement which did not contain any factual basis for the committing of the alleged
crime.” (Doc. No. 9 at 8). Petitioner further contends that the “negotiation of the plea worked to
movant’s substantial disadvantage.” (Id.). To the contrary, the plea agreement worked very
strongly in Petitioner’s favor, as the Court discusses, infra. Furthermore, Petitioner challenged
the validity of the factual basis in a pro se supplemental brief on direct appeal, and the Fourth
Circuit rejected his challenge. See United States v. Wilburn, 596 Fed. App’x 241 (4th Cir.
2015).
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the United States Sentencing Guidelines, a two-offense-level increase applies if a defendant

involved in a drug-trafficking offense possesses a dangerous weapon, including a firearm. This

enhancement applied to Petitioner under U.S.S.G. § 2S1.1, which provides that the base offense

level for a money laundering offense is the offense level for the underlying offense from which

the laundered funds are derived. See (Crim. Case No. 3:11cr337-RJC-11, Doc. No. 413 at ¶ 14).

The enhancement for possession of a weapon reflects the Sentencing Commission’s recognition

of the “increased danger of violence inherent when drug traffickers possess weapons.” See

United States v. Harris, 128 F.3d 850, 852 (4th Cir. 1997) (quoting U.S.S.G. § 2D1.1 cmt.

n.11(A)) (formerly Application Note 3 (1995)). “The enhancement should be applied if the

weapon was present, unless it is clearly improbable that the weapon was connected with the

offense.” U.S.S.G. § 2D1.1, cmt. n.11(A) (emphasis added). Once the Government shows

possession, the burden shifts to the defendant to show that it is clearly improbable that the

firearm was connected to the conspiracy. See United States v. Manigan, 592 F.3d 621, 630 n.8

(4th Cir. 2010); Harris, 128 F.3d at 853.

       Here, the evidence was sufficient to show possession. Petitioner admits he had a firearm

in his car during the period of the conspiracy. (Doc. No. 1 at 23). Moreover, the PSR shows that

he was convicted of being a felon/addict in possession of a firearm during the conspiracy. (Crim.

Case No. 3:11cr337-RJC-11, Doc. No. 413 at ¶ 33). Additionally, a co-defendant stated that he

had seen Petitioner with two firearms. (Id. at ¶ 8). Where a defendant is convicted of

conspiracy, possession of the weapon during the conspiracy or relevant conduct is sufficient to

apply the enhancement. See United States v. Apple, 962 F.2d 335, 338 (4th Cir. 1992); United

States v. Wetwattana, 94 F.3d 280, 283 (7th Cir. 1996) (holding the government “is not required

to demonstrate a connection between the weapon and the offense,” but only that the weapon was



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possessed during the offense); United States v. Falesbork, 5 F.3d 715, 721 (4th Cir. 1993)

(holding that courts should consider relevant conduct when determining whether to apply the

enhancement). Although Petitioner contends that any possession was not related to his offense,

this conclusory assertion does not show that it was clearly improbable that his possession of a

firearm was connected to his offense. See Dyess, 730 F.3d at 359-60; Harris, 128 F.3d at 853.

This Court was free to rely on the information in the PSR to apply the enhancement. See United

States v. Bowman, 926 F.2d 380, 381 (4th Cir. 1991) (a sentencing court may consider any

reliable source of information, including uncorroborated hearsay). Because the evidence of

possession offered was sufficient to apply the enhancement, Petitioner has not shown that

counsel’s failure to object to the enhancement constituted deficient performance. Petitioner also

has not met his burden to show prejudice, because he has not made a showing that the

enhancement was improperly applied. Accordingly, his claim of ineffective assistance is denied

because he has not shown deficient performance or prejudice. See Strickland, 466 U.S. at 687-

88, 694.

       v. Petitioner’s allegations of pre-plea ineffective assistance as set forth in his affidavit.

       Petitioner asserts additional allegations of pre-plea ineffective assistance in his supporting

affidavit, including his contentions that he wanted to proceed to trial, that he did not structure

any financial transactions, that he did not read the plea agreement, and that counsel advised him

to plead guilty without investigating or explaining the case to him. (Doc. No. 1 at 14). All of

these contentions are belied by Petitioner’s sworn testimony at the plea hearing. See (Crim. Case

No. 3:11cr337-RJC-11, Doc. No. 485 at 4-6, 9, 13-14). Furthermore, he cannot show prejudice

because he cannot show that it would have been objectively reasonable to proceed to trial on the

charges. See Fugit, 703 F.3d at 260. The plea agreement conferred significant benefits on



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Petitioner, including the dismissal of two other charges, including a Section 924(c) offense that

would have carried a mandatory minimum consecutive term of at least five years of

imprisonment; a three-level reduction in his offense level for acceptance of responsibility; a

reduction in the amount of marijuana for which he was responsible from 1,000 kilograms to

between 100 and 400 kilograms; as well as an agreement from the Government not to oppose a

sentence at the bottom of the guidelines range. See (Id., Doc. No. 325 at ¶¶ 2, 7). Given these

benefits, Petitioner has not shown that it would have been objectively reasonable for him to

proceed to trial. See United States v. Santiago, 632 F. App’x 769, 773-74 (4th Cir. 2015)

(determining defendant was not prejudiced by pleading guilty where this resulted in his receiving

a shorter term of imprisonment). Accordingly, this claim is denied.

       B.      Petitioner’s Challenge to his Criminal History Score.

       Petitioner next argues that he was incorrectly assessed one criminal history point for a

misdemeanor battery offense that he did not commit. (Doc. No. 1 at 22). This claim is barred by

the post-conviction waiver provision in Petitioner’s plea agreement. (Crim. Case No. 3:11cr337-

RJC-11, Doc. No. 325 at ¶¶ 18-19). The record shows that Petitioner knowingly and voluntarily

agreed to this waiver, and he does not challenge its validity in his Section 2255 motion. (Id.,

Doc. No. 485 at 13-14). Accordingly, this claim is dismissed as waived by Petitioner’s plea

agreement. See Lemaster, 403 F.3d at 220.

       Even if Petitioner could raise this issue on collateral review, it would be procedurally

barred because Petitioner did not appeal this issue. A Section 2255 motion is not a substitute for

a direct appeal. See United States v. Frady, 456 U.S. 152, 165 (1982). Claims of error that could

have been raised on direct appeal, but were not, are procedurally barred unless the petitioner

shows both cause for the default and actual prejudice, or demonstrates that he is actually



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innocent of the offense. See Bousley v. United States, 523 U.S. 614, 621-22 (1998); United

States v. Bowman, 267 F. App’x 296, 299 (4th Cir. 2008). Petitioner has not alleged cause or

prejudice for his failure to raise this issue on appeal, nor has he shown that he is factually

innocent of his money-laundering offense. Therefore, this claim also is procedurally barred. See

Bousley, 523 U.S. at 621-22.

        Finally, even if Petitioner could show error, any such error is harmless because a one-

level reduction in his criminal history score would leave him with 13 criminal history points,

which would still place him in criminal history category VI. See U.S.S.G. Ch. 5, Pt. A

(Sentencing Table). Accordingly, any error had no impact on his sentence. Therefore,

Petitioner’s challenge to his criminal history score is dismissed as procedurally barred and

without merit.

        IV.      CONCLUSION

        For the foregoing reasons, the Court denies and dismisses Petitioner’s Section 2255

petition.

        IT IS, THEREFORE, ORDERED that:

        1.       Petitioner’s Motion to Vacate, Set Aside or Correct Sentence under 28 U.S.C. §

                 2255, (Doc. No. 1), is DENIED and DISMISSED.

        2.       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

                 Governing Section 2254 and Section 2255 Cases, this Court declines to issue a

                 certificate of appealability. See 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell,

                 537 U.S. 322, 338 (2003) (in order to satisfy § 2253(c), a petitioner must

                 demonstrate that reasonable jurists would find the district court’s assessment of

                 the constitutional claims debatable or wrong); Slack v. McDaniel, 529 U.S. 473,



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               484 (2000) (when relief is denied on procedural grounds, a petitioner must

               establish both that the dispositive procedural ruling is debatable and that the

               petition states a debatable claim of the denial of a constitutional right).



Signed: January 26, 2017




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